Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 1 of 10

IN THE CIRCUIT COURT OF MARYLAND
FOR PRINCE GEORGE’S COUNTY

 

GARY MAYO
1905 Brooks Dr., Apt. 304
Capitol Heights, MD 20743-5508

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Civil Case No:

Plaintiff

v.

PEST SERVICES CO.
1013 Centre Road
Wilmington, DE 19805
Defendant 1

LANCE WILLIAMS

3812 39th Street
Brentwood, MD 20722

 

Defendant 2

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COMPLAINT

Plaintiff, Gary Mayo, by and through undersigned counsel, hereby respectfully
files this Complaint, and in support states:
is Gary Mayo (“Plaintiff’ or “Mr. Mayo”) is an adult resident of the State of
Maryland.
2. Pest Services Co. (“Defendant 1” or “PSC”) is a corporation incorporated
under the laws of the State of Delaware.
2. Lance Williams (“Defendant 2” or “Mr. Williams”) is the president and

registered agent of PSC, and his address for service of process according to the
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 2 of 10

records of the Maryland Department of Assessments & Taxation is 3812 39" St.,
Brentwood, MD 20722.

4, PSC’s primary office and operational headquarters in Maryland is located
at 3407 Perry St., Mount Ranier, MD 20712-2139, which is in Prince George’s
County.

5. Mr. Williams is an adult resident of the State of Maryland and Prince
George’s County.

6. At all relevant times, PSC was engaged in the industry or business of
providing pest control services to customers in the State of Maryland and Prince
George’s County.

a At all relevant times, PSC employed 15 or more employees in the State of
Maryland and Prince George’s County, and is an “employer” under the definition
in Maryland Code, State Government Article, § 20-601(d)(1)(i) and Labor and
Employment Article § 3-401(b) and Prince George’s County Code § 2-186{a)(5).
8. At all relevant times, Mr. Williams, as president of PSC, was an agent of
PSC who acted directly in the interest of PSC with regard to Mr. Mayo, and is an
“employer” under the definition in Maryland Code, State Government Article, §
20-601(d)(1)Gi) and Labor and Employment Article § 3-401(b) and Prince
George’s County Code § 2-186(a)(5).

9. At all relevant times, PSC employed Mr. Mayo as an hourly, non-exempt
employee, and therefore was required to pay Mr. Mayo overtime wages (or 1.5

times his usual hourly wage) for each hour over 40 hours he worked in one

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Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 3 of 10

workweek, pursuant to Maryland Code, Labor and Employment Article § 3-
415(a) and § 3-420(a).

10. During his entire employment with PSC, Mr. Mayo was never paid any
wages (including overtime wages) for any hours he worked over 40 hours in a
workweek.

Li. Mr. Mayo regularly worked more than 40 hours in a workweek, including
work he performed at the PSC office before and after his regularly scheduled shift
of 8 hours a workday. PSC and Mr. Williams regularly suffered or directed Mr.
Mayo to work more than 40 hours in a workweek.

12. Starting no later than January of 2018, Mr. Mayo believed in good faith
that he was being discriminated against and harassed at work on the basis of his
skin color, race, and age.

13. Mr. Mayo believed that he was unlawfully being denied promotions,
bonuses, and pay raises by Mr. Williams and PSC in favor of other employees for
prohibited discriminatory reasons in violation of federal, state, and Prince
George’s County anti-discrimination laws.

14. Mr. Mayo believed that his career at PSC was being intentionally
sabotaged for unlawful discriminatory reasons, including by Mr. Williams and
PSC interfering with his Maryland state occupational licensing process and state
required certification classes, while other employees were fully supported by Mr.

Williams and PSC in the licensing process.

15. Mr. Mayo believed that the PSC Operations Manager, Tim Brown (“Mr.

Brown”), who had supervisory authority over Mr. Mayo, was unlawfully
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 4 of 10

harassing Mr. Mayo at work by, inter alia, insulting him, calling him by
discriminatory terms, and interfering with his ability to perform his job.

16. In late May of 2018, Mr. Mayo called the Equal Employment Opportunity
Commission (“EEOC”) to inquire about filing a complaint for discrimination and
harassment.

17. During this May, 2018 call with the EEOC, the intake/screening person on
the phone asked Mr. Mayo if he had complained to Mr. Williams about the
discrimination and harassment he was expetiencing. Mr. Mayo replied that he
had not yet done so. The EEOC intake/sereening person suggested that Mr. Mayo
complain to Mr. Williams, and give him and PSC the chance to remedy the
discrimination and harassment before filing an official charge of discrimination.
18. Following the May, 2018 call with the EEOC, Mr. Mayo discussed with
Mr, Williams the discrimination and harassment he was experiencing, and the fact
that he had contacted the EEOC and was considering filing an official charge.

19. On or about June 14, 2018, Mr. Mayo informed Mr. Williams that the
harassment by Mr. Brown had escalated, and that he intended to file an official
charge with the EEOC. Mr. Williams responded “do what you got to do.”

20. On June 25, 2018, Mr. Mayo was informed that PSC was “terminating”
his position as office manager. Mr. Mayo was offered a demotion to a position as
“Service Technician” (whose job duties would involve direct application of
pesticides and other pest control measures in the field), and was given “a couple

of days” to consider the offer.
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 5 of 10

21. On June 26, 2018, Mr. Williams threatened to call the police on Mr. Mayo
ifhe did not immediately return the keys to the PSC office and copies of certain
pest control service records (the originals of which records were all on the PSC
computer system).

22. On June 27, 2018, Mr. Mayo returned the keys and the copies of the
service records to the PSC office,

23. Mr. Mayo never at any point communicated any intent to decline the offer
of the Service Technician position at PSC, and was as of June 27, 2018 still
considering the offer.

23. Nevertheless, on June 27, 2018, Mr. Williams texted to Mr. Mayo that “I
accept your resignation, You can pick up any of your personal items and you can
pick up your check on payday.” Mr. Mayo responded “I didn’t resign. What time

can I come get my stuff?”

COUNT 1- VIOLATION OF THE MARYLAND WAGE AND HOUR LAW
24, Plaintiff incorporates by reference the allegations in paragraphs 1 through
23 as if fully set forth herein.

25. Defendants failed to pay Plaintiff wages (including overtime wages) for
any hours he worked over 40 hours that he worked during any workweek he
worked for Defendants, and therefore violated Maryland Code, Labor and

Employment Article § 3-415(a) and § 3-420(a).

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Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 6 of 10

26. Plaintiff is therefore entitled to bring this action pursuant to Maryland
Code, Labor and Employment Article § 3-427(a), and to an award of damages

permitted under § 3-427(a)(1), § 3-427(a)(2), and § 3-427(a)(3),

COUNT 2- VIOLATION OF THE MARYLAND WAGE PAYMENT AND
COLLECTION LAW

27. Plaintiff incorporates by reference the allegations in paragraphs 1 through
26 as if fully set forth herein.

28. Defendants failed to pay Plaintiff earned wages (including overtime wages
pursuant to Maryland Code, Labor and Employment Article § 3-415(a) and § 3-
420(a)) in a timely manner, and therefore violated Maryland Code, Labor and
Employment Article § 3-502 and § 3-505,

29. Plaintiff is therefore entitled to bring this action pursuant to Maryland
Code, Labor and Employment Article § 3-507.2(a).

30. Defendants did not withhold the wages of Plaintiff as a result of a bona
fide dispute, and therefore Plaintiff should be awarded all damages permitted

pursuant to Maryland Code, Labor and Employment Article § 3-507.2(b),

COUNT 3- DISCRIMINATION AND RETALIATION IN VIOLATION OF
MARYLAND CODE, STATE GOVERNMENT ARTICLE § 20-606(H
31. Plaintiff incorporates by reference the allegations in paragraphs 1 through

30 as if fully set forth herein,
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 7 of 10

32. By informing Defendants in May and June of 2018 that he felt that he was
being discriminated against on the basis of his race, age, and skin color, and that
he intended to file a complaint with the EEOC, Plaintiff opposed unlawful
employment practices by Defendants prohibited by Maryland Code, State
Government Article § 20-606(a).

33. By demoting and terminating Plaintiff between June 25 and June 27, 2018,
Defendants discriminated and retaliated against Plaintiff because he opposed the
unlawful employment practices by Defendants prohibited by Maryland Code,
State Government Article § 20-606(a), and therefore Defendants violated
Maryland Code, State Government Article § 20-606(f).

34. On November 29, 2018, Plaintiff filed a sworn Charge of Discrimination
with the Prince George’s County Human Relations Commission alleging that
Defendants unlawfully discriminated and retaliated against him, which was a
charge that was timely filed under federal, Maryland, and Prince George’s County
law.

35. At least 180 days have elapsed since Plaintiff's filing of the administrative
charge on November 29, 2018.

36. Less than 2 years have elapsed after the unlawful employment practices
occurred that are the subject of this Complaint.

37. . This Complaint is therefore filed pursuant to the requirements of Maryland
Code, State Government Article § 20-1013(a)(1), § 20-1013(a)(2), and § 20-

1013(a)(3).
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 8 of 10

38. Plaintiff is entitled to recover damages and other remedies pursuant to
Maryland Code, State Government Article § 20-1013(d) and § 20-1009{b).

39, Defendants demoted and terminated Plaintiff with actual malice in
retaliation for his opposing unlawful employment practices, and therefore Plaintiff
is entitled to punitive damages pursuant to Maryland Code, State Government

Article § 20-1013(e)(1).

COUNT 4- RETALIATION IN VIOLATION OF PRINCE GEORGE’S
COUNTY CODE § 2-209

40. Plaintiff incorporates by reference the allegations in paragraphs 1 through
39 as if fully set forth herein.

41. By informing Defendants in May and June of 2018 that he felt that he was
being discriminated against on the basis of his race, age, and skin color, and that
he intended to file a complaint with the EEOC, Plaintiff opposed unlawful
employment practices by Defendants prohibited by Prince George’s County Code
§ 2-222 and § 2-186(a)(3).

42. By demoting and terminating Plaintiff between June 25 and June 27, 2018,
Defendants retaliated against Plaintiff because he opposed the unlawful
discriminatory acts or failures to act by Defendants prohibited by Prince George’s
County Code § 2-222 and § 2-186(a)(3), and therefore Defendants violated Prince
George’s County Code § 2-209.

43. At least 45 days have elapsed since Plaintiffs filing of the administrative

charge on November 29, 2018 with the Prince George’s County Human Relations
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 9 of 10

Commission, which is the county unit responsible for handling violations of the
county discrimination laws.

44. Therefore, Plaintiffs Complaint is a timely filed and authorized civil
action pursuant to Maryland Code, State Government Article § 20-1202(b) and
(c).

45. Plaintiff is entitled to recover damages and other relief pursuant to Prince
George’s County Code § 2-195(b) and Maryland Code, State Government Article
§ 20-1202(b) and (4).

46. Plaintiff suffered humiliation and embarrassment as a result of the
unlawful discrimination and retaliation by Defendants, and is therefore entitled to
the damages permitted pursuant to Prince George’s County Code § 2-

195.01(a)(3).

WHEREFORE, Plaintiff respectfully requests that the Court award him damages in the
amount of at least $75,000, plus court fees and costs, statutory pre-judgment interest,
reasonable attorney’s fees, and any further relief as Ahe Court may find necessary and

appropriate in the interests of justice.

 

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Attomey for Plaintiff
Case 8:20-cv-01047-PX Document 6 Filed 04/28/20 Page 10 of 10

MILITARY SERVICE AFFIDAVIT

No defendant is in the military service. Defendant 1 is a Corporation organized under the
laws of the State of Delaware, and not a natural person, Defendant 2 is not in the military

service, according to the personal knowledge of Plaintiff acquired during his
employment.

Thereby declare or affirm under the penalties of perjury that the facts and matters set

forth in the aforegoing Affidavit are true and correct tothe best of my knowledge,
information, and belief.

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Date Jos Allen, Esq.
Attortey for Plaintiff

 

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